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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION

UNITED STATES OF AMERICA,

vs.                                              Case No. 5:19cr77/TKW

DUANE EDWARD CRAWSON

_________________________________________________________________

                      ACCEPTANCE OF PLEA OF GUILTY

        Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, and subject to this Court’s

consideration of the Plea Agreement pursuant to Fed. R. Crim. P. 11, the plea of

guilty of the Defendant, DUANE EDWARD CRAWSON, to Counts 1, 2, 3, 4, 5, 6,

7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 30,

31, 32, 33, 34, 35, 36, 37, and 38 of the Indictment is hereby ACCEPTED. All

parties shall appear before this Court for sentencing as directed.

        DONE and ORDERED this 2nd day of March, 2020.


                                    T. Kent Wetherell, II
                                   T. KENT WETHERELL, II
                                   UNITED STATES DISTRICT JUDGE
